Case: 2:16-cv-01135-ALM-EPD Doc #: 2 Filed: 11/30/16 Page: 1 of 19 PAGEID #: 25

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IN THE COURT OF COMMON PLEAS “EAS coupy
OF GUERNSEY COUNTY, OHIO 2016 Noy 2 és
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JOHN URDAK TERESA A p
11224 PLEASANT ROAD eG hK 0 Fours
PLEASANT CITY, OHIO 48772 CASE NO: \[pl\/UY(, Nse¥ Oy
Plaintiff, JUDGE: DAVID A. ELLWOOD

VS.
BOARD OF EDUCATION FOR
ROLLING HILLS LOCAL
SCHOOL DISTRICT
60851 SOUTHGATE ROAD tity,
CAMBRIDGE, OHIO 43725 Soa

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and =S "ss
RYAN CALDWELL, ED $
SUPERINTENDENT “aif Ergon A TRUE COPY OF THE ORIGINAL
60851 SOUTHGATE ROAD Be ee Se
CAMBRIDGE, OHIO 48725 FLED DATE Oa) >). a0) &

and [D,

DEPUTY GLERK OF COURTS, GUERNSEY COUNTY, OHIO
JOHN DOES 1-5
UNKNOWN PARTIES

Defendants.

VERIFIED COMPLAINT
WITH MOTION FOR PRELIMINARY INJUNCTION
TO ENJOIN DEFENDANTS’ SUSPENSION OF PLAINTIFF
FROM SCHOOL EVENTS

Now comes Plaintiff John Urdak, by and through counsel, and for his

Complaint against Defendant Board of Education for Rolling Hills Local School
District, states as follows:

INTRODUCTORY STATEMENT

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1. John Urdak is bringing this suit to have the Board’s dangling suspension,
‘ indefinitely prohibiting him from attending school activities, namely sporting
events, declared void and unenforceable.

JURSIDCTION AND PARTIES

2. Plaintiff John Urdak is an individual with a residence located at 11224 Pleasant
Road, Pleasant City, Ohio 43772.

8. Defendant Board of Education for Rolling Hills Local School District (the “Board

' of Education” or “Board”) is a political subdivision of the State of Ohio that can
sue and be sued in its own name. Defendant operates, governs, and is
responsible for the operation of Meadowbrook High School, Meadowbrook Middle
School, Brook Intermediate School, Byesville Elementary School, and Secrest
Elementary School.

4. Defendant Ryan Caldwell is the Superintendent of Rolling Hills Local School
District and is sued in his official capacity. He is responsible for the policies,
practices, and customs ofthe School District. The Superintendent also directs
the hiring, screening, training, retention, supervision, discipline, counseling, and
control of the School District’s teachers and staff. He is charged with the
oversight of the School District and its compliance with state and federal laws
regarding the education of its students (collectively, with the Board of Education
and John Does 1-5, “Defendants”)

5. This Court has jurisdiction over the claims set forth in this Action under Ohio
Revised Code § 2305.01.

6. Venue is proper in this Court pursuant to Rule 3(B)(2), (8), and (6) of the Ohio
Rules of Civil Procedure, since Defendants are located in Guernsey County,

Ohio, and the acts giving rise to the claims in this Action occurred in Guernsey
County, Ohio.

FACTS COMMON TO ALL COUNTS
7. Plaintiff lives in the Rolling Hills Local School District.
8. Plaintiffis married to Lisa Urdak and has two sons who attend Meadowbrook
High School. Wyatt Urdak is a junior and Wade Urdak is a senior. Wyatt and

Wade participate in various school activities, including baseball, football, and
basketball.

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9. The School District has a 2016-2017 handbook called
Parent/Guardian/ Spectator Athletic Expectations (the “Handbook”). See
attached Exhibit A. '

10. The Handbook provides for a “Five Strike Policy” for “major violations
of...expectations at sport events”, which include but are not limited to,
aggressive confrontations of a coach, being ejected or escorted from a sporting

event, or “any action reasonably deemed to be detrimental by a school
administrator.”

11. For each “strike” received, a parent/guardian/spectator faces a consequence. For
the 15* strike, for example, a parent must complete the online course “Positive
Sport Parenting” and provide a certificate of completion to the School. For the
and strike, there is a two week suspension from home athletic events; for the 34
strike, there is a three month suspension; for the 4‘ strike, there is a one year
suspension; and for the 5 strike, there is a permanent suspension.

12.The Handbook does not provide for an indefinite suspension, except for the 1st
strike, where a parent has yet to complete the Positive Sport Parenting course.

13. Prior to this legal dispute, Plaintiff never received a copy of the Handbook.

14. Plaintiff has never been told or received any writing stating he received any
“strikes” under the Handbook.

The Board’s Violation of
Ohio’s Sunshine Laws

15.0On June 30, 2016, the Board of Education conducted a regular meeting, which
Plaintiff and his wife attended. At the conclusion of that meeting, the
Superintendent stated that the Board was going into an executive session.

16. During the illegal executive session, the Board voted to prohibit Plaintiff from
attending any further school activities, including sporting events, prohibited
from Rolling Hills Property.

17. During the June 30** meeting and executive session, Plaintiff and his wife did
not utter a word, much less disrupt the proceedings, even during public
participation.

18.Subsequently, the Board sent a letter to Plaintiff, dated June 30, 2016, stating
that Plaintiff was being prohibited from attending any further school activities,
including sporting events, “for the indefinite future” due to alleged “ongoing
belligerent and inappropriate conduct.” See attached Exhibit B.

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19. The last sentence of the June 30% letter states, “This ban will remain in place
until we can credibly be assured that your propensity toward profane outbursts
and attacks on others has been curbed and that you can, and will, maintain

basic courtesy and civility towards school authorities on a regular and sustained
basis.”

20.The June 30% letter was signed by the Board President Brian Stoney, Board
Vice President Darlene Miser, and Board Members, Tam Kenworthy, Cheryl
Gadd, and Karen Wiggins.

21.0n July 27, 2016, the undersigned sent a letter to the Board notifying the Board
that it had conducted an illegal executive session on June 30‘ and demanding
that it withdraw the June 30% letter to Plaintiff.

22.On August 5, 2016, Board Treasurer Kandi Raach sent a letter to Plaintiff
stating that the Board conducted a meeting on August 4, 2016, and at that
meeting voted to rescind and withdraw the June 30% letter approved at the
illegal executive session. See attached Exhibit C.

The Indefinite Suspension

23.0On August 12, 2016, the Board sent another letter to Plaintiff stating that
Plaintiff was being prohibited from attending any further school activities on
school property, including sporting events, “for the indefinite future” due to
alleged “ongoing belligerent and inappropriate conduct.” See attached Exhibit D.

24. Like the June 80" letter, the August 12 letter concluded by stating, “This ban
will remain in place until we can credibly be assured that your propensity
toward profane outbursts and attacks on others has been curbed and that you
can, and will, maintain basic courtesy and civility towards school authorities on
a regular and sustained basis.”

25.The August 12‘ letter was signed by Superintendent Ryan Caldwell and Board
President Brian Stoney.

26.The August 12‘ letter does not say that Plaintiff received any “strikes” under
the Handbook, much less five strikes.

27.Because of the ban, Plaintiff was unable to attend any Homecoming activities
involving his son, Wade, who was selected to be on the Meadowbrook High
School Homecoming Court for 2016-2017, including a Homecoming Parade in
Byesville on September 30, 2016, followed by a pre-game ceremony at the

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football field. He also missed all football games, 2 basketball scrimmages, and
the parent meeting for basketball players. .

28. Wade is a starter on the Meadowbrook High School varsity basketball team,
whose pre-season began on November 11, 2016, and whose regular season begins
December 2, 2016 and ends February 10, 2017.

29. Upon information and belief, the Board’s susp ension of Plaintiff is preceded by a
number of incidents involving Board Members and School Administration. See
attached Exhibit E.

COUNT 1
(UNEQUAL PROTECTION - 42 U.S.C. 1983)

30. Plaintiff restates and-incorporates the above as if fully rewritten.

31. Defendants’ conduct in prohibiting Plaintiff from participating in his sons’ school
activities, where Defendants do not do the same to persons in a situation similar
to that of Plaintiff and who have engaged in the same or similar conduct as that
of Plaintiff, including Board President Brian Stoney and Superintendent Ryan
Caldwell, was wholly arbitrary and vindictive, and was solely or substantially
motived by Defendants’ spite and ill will towards Plaintiff.

32. Defendants’ conduct deprived Plaintiff of his clearly established right to Equal
Protection of the Law under the Fourteenth Amendment to the United States
Constitution. .

33.As a direct and proximate result of these violations of Plaintiff's constitutional
rights, he was made to suffer great emotional trauma, discomfort, and
embarrassment, and was deprived of his liberty, and his personal and
professional reputations were impaired.

34. Defendants’ conduct was performed knowingly, intentionally, maliciously, and
with a callous disregard of Plaintiffs constitutional rights.

COUNT 2
(UNEQUAL PROTECTION — OHIO CONSTITUTION)

35. Plaintiff restates and incorporates the above as if fully rewritten.
36. Defendants’ conduct, as stated in paragraph 26, deprived Plaintiff of his clearly

established right to Equal Protection of the Law under Article 1, Section 2, of the
Ohio Constitution.

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87.As a direct and proximate result of these violations of Plaintiffs constitutional
rights, he was made to suffer great emotional trauma, discomfort, and
embarrassment, and was deprived of his liberty, and his personal and
professional reputations were impaired.

38. Defendants’ conduct was performed knowingly, intentionally, maliciously, and
with a callous disregard of Plaintiffs constitutional rights.

COUNT 3
(MOTION FOR PRELIMINARY INJUNCTION)

39. Plaintiff restates and incorporates the above as if fully rewritten.

AO, Plaintiff is substantially likely to succeed on the merits of this Case, because he
has been unequally treated by the Board, given numerous incidents, including
the six incidents discussed above, wherein Board President Brian Stoney and/or
Superintendent Ryan Caldwell engaged in improper conduct and were not
indefinitely suspended from attending or participating in school activities.

41. Plaintiff will suffer irreparable harm if a Preliminary Injunction is not granted,
because school activities for the year have already begun, and he has already
missed, and will continue to miss, his sons’ extracurricular events, including
basketball games, as this litigation proceeds. Unless this Court acts now,
Plaintiff will miss some or all of his sons’ basketball season, which ends in
February, 2017, and some or all of his sons’ baseball season, which begins in
March, 2017, and ends in May, 2017. These are not experiences he can “get
back”, nor are they experiences that can be readily valued for purposes of
determining monetary damages.

42.No third parties will be harmed if a Preliminary Injunction is granted, because
Plaintiff has demonstrated and will continue to demonstrate his ability to act
responsibly. Plaintiff has never threatened anyone any physical harm or been
involved in any physical altercations on School District property. Plaintiff has
gone so far as to complete, on his own, the Positive Sport Parenting course. See
attached Exhibit F.

43. The public interest will be served by a Preliminary Injunction, because it will
mean Plaintiff, a devoted parent who has shown a willingness to act responsibly
at school activities, will be able to attend games and support his sons. Moreover,
it will mean that the School District will not be able to enforce a suspension
which appears to be unequal and arbitrary on its face, until this Case is decided
on the merits.

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44, Plaintiff is entitled to a Preliminary Injunction enjoining Defendant from
prohibiting Plaintiff from attending:school activities, until this Case is decided
on the merits.

45.Pursuant to Civ.R. 65(B)(2), this Court should combine the Hearing on the
Motion for Preliminary Injunction with an expedited Trial on the Merits.

WHEREFORE, Plaintiff demands the following relief:

I, As to Counts 1 and 2, that this Court issue an Order declaring the Board of
Educations dangling, indefinite suspension of Plaintiff from school activities
as unconstitutional under the United States and Ohio Constitutions.

Ii. Asto Count 8, that this Court grant Plaintiff a Preliminary Injunction
enjoining Defendant from prohibiting Plaintiff from attending school
activities, until this Case is decided on the merits until this Case is
adjudicated on the merits or otherwise resolved.

Il. For an award of costs and such other relief as is just and equitable.

Respectfully submitted,

 
 

 

rent A. Stubbins (0016326)

Grant J. Stubbins (0090768)

STUBBINS, WATSON & BRYAN Co., L.P.A.
59 North Fourth Street

P. O. Box 488

Zanesville, OH 48702-0488

Phone: 740-452-8484

Fax: 740-455-4124

bstubbins@zanesville.law.pro

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VERIFICATION QE:COMPLAINT

 
 
         

   

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STATE OF OHIO 22S) Ze Notary Public, State of Ohio
2*i ee My Comim. Expires Feb, 25, 2020

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‘SS:
Recorded in Guernsey County
COUNTY OF C. ern head : liga. es .

I, John Urdak, declare under penalty of perjury of the laws of the State of
Ohio that I have read this Verified Complaint, and the averments set forth in this
Verified Complaint are within my personal knowledge and are true and correct.

Ou, LD idk

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Sworn to before me and subscribed in my presence by John Urdak, on
November _2 4, , 2016, as being true to the best of his knowledge, information, and

belief.
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NOTES? UBLIC

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PRAECIPE FOR SERVICE

TO THE CLERK:

Please make service upon the Defendants by expedited personal service
through the Guernsey County Sheriff, at the addresses noted above.

bl

Brent A. Stubbins (0016326)

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EXHIBIT

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MA

—~

2016-2017

Meadowbrook
COLTS |

Parent/Guardian/ Spectator
Athletic Expectations
Handbook

‘Watching athletic events is a privilege, not a right”
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rm (=
PARENT/GUARDIAN/SPECTATOR STRIKE POLICY

It is clear that parents, guardians and spectators play an influential role in school sports. How you
behave in the stands, talk to your son/daughter after games and interact with coaches and
officials makes all the difference in every student-athlete’s enjoyment of the sport.
Sportsmanship is an important concept that we try to instill in all students. To ensure that
parents, guardians and spectators take on a positive role to make a memorable experience for
everyone at Meadowbrook athletic events, the Rolling Hills Board of Education, in conjunction
with the Meadowbrook Athletic Department, has adopted the following guidelines.

FIVE Strike Policy for major violations of the Parent/Guardian/Spectator expectations at
sporting events.

Major violations that will normally result in a strike include but are not limited to the following:
- ageressively confronting any coach for any reason before, during, or after an athletic
contest OR practice (refer to the chain of command for the proper way to communicate

with a coach)

- being ejected OR escorted from an athletic contest for any reason by an official, law
enforcement, or any school administrator (home or away events)

- ANY action reasonably deemed to be detrimental by a school administrator

1° — Must complete the entire course titled “Positive Sport Parenting” on nfhslearn.com/courses

* Upon completion of course, print off certificate and provide to athletic administrator.
Suspension to all Meadowbrook sporting events will be enforced until course is
completed and certificate is turned in.

2™__ TWO weeks suspension from the date of occurrence of violation from attending ALL home
athletic events at Meadowbrook for grades 7-12

3" _ THREE months suspension from the date of occurrence of violation from attending ALL
home athletic events at Meadowbrook for grades 7-12

4" _ ONE calendar YEAR suspension from the date of occurrence of violation from attending
ALL home athletic events at Meadowbrook for grades 7-12

5" _ Permanent suspension from all home Meadowbrook athletic events
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While the above guidelines reflect the normal consequences for objectionable behavior,
deviations rarely may be warranted by the particular circumstances surro unding a particular case.
Participation in and attendance at extracurricular athletic events is a privilege, not a right.
Spectators who engage in offensive behavior not only send the wrong message to young athletes
but risk forfeiting their ability to attend.

** Any violation of a suspension as presented will result in an automatic additional strike
toward parent, guardian or spectator. **

** Depending on the severity of an incident, steps can be implemented on any level deemed
appropriate by Administration. **

** If an incident results in a strike, a written notice and phone call will be made by the
Athletic Administrator. **

** Any strike that is implemented to a person will follow that individual from season to
season and year to year. **

** Any suspension that is not completely fulfilled during a specific sport season due to the
end of the season will be carried over into the following season until the entire suspension is
served. **
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EXHIBIT
Rolling Hills Local Schoot Distie

. Ryan Caldwell, Lowal Superintendent Rance Faller, “Treaecnen
Phas: 740-930-5270 Syesaille, Oto C3728 X Phone: 740-G82-7F27
Fat: 740-4B5-8312

Fans 740-439-5289
Fume 30, 2016

Dear Mr, John Urdak:

We are writing to inform you that, for the indefinite future, you will not be permitted to attend .
any athletic event or other extracurricular activity on property owned by the Rolling Hills Local School
Districts Your ongoing belligerent and inappropriate conduct--which includes verbal abuse and threats
directed at several coaches, the District’s Athletic Director, the Superintendent; and even some Board of
Education members—leaves us no realistic alternative but to bar your attendance,

While we are sensitive to the interest of a parent in attending events in which a child is

. Participating, and also the interest of the child in heaving the parent attend, our paramount concem must be
for the safety and well-being of staff. While you have aright to yout opinions, and to communicate those
opinions in an appropriate way, you have no right angrily to attack a public official or employee with
profanity and belligerent threats, A public official or employee is simply not your own private punching
bag to be abused as you chodse, Despite numerous prior warnings, you appear to be either unwilling or -
incapable of changing your behavior. Accordingly, you are being banned from atiendin extracurricular
activities on District premtises. oO. ae a

‘We would note in this connection that the District Athletic Communication Guide you previously
Signed specifically stressed that you should-nof aggressively confront a coach with whom you have issues
before or after a Contest or practice, sincé such conduot does siot promote the resolution of disputes but,

* rather, tends to escalate tensions. Your grossly’ inappropriate comiments.and attacks have been directed
not just toward coaches while doing theit jobs, but the Athletic Director and others as well. Ohio law
gives schoo] officials the authority to insist that parents and otheis conduct themselves appropriately
while on school property. As Judye Chinnock ‘noted, in upholding a Piké County school district’s ban of
a student's mother from, school activities because of her verbal abuse of a‘coach, a parent who engages in
such behavior forfeits arly right hé might otherwise have had to attend extracurricular activities.

Much as we regret having to write this letter, your persistent inappropriate conduct and refusal to
heed past warnings give us little choice. Should you attemipt to attend a District extracurricular activity in
" the future, you will be treated as a trespasser, and Jaw enforcement authorities will be called. This ban
will xemain in place until we can credibly. be assured that your propensity toward profane outbursts and
attacks on others has heen curbed and that you'can, and will, maintain basic courtesy and civility towards

school authorities on a regular and sustained basis.
Ky beg! -
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Board Member - Date

  

Board Vice President +

 

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Board Member ~ Date ard Member - Date
Case: 2:16-cv-01135-ALM-EPD Doc #: 2 Filed: 11/30/16 Page: 14 of 19 PAGEID #: 38

EXHIBIT

  

Ryan Catduell, Local Supertutendent Kanade Fuller, “Treasurer
Dhoner 740-G32-5870 Syccutlle, Okto 43723 Phone: 740-432-7821
Fax: 740-435-8312 Dau: 740-489-5259

August.5, 2016

John Urdak

11224 Pleasant Road
Pleasant City OH 43772

-Dear Mr, Urdak:

At its meeting on August 4, 2016, the Rolling Hills Local School District Board of Education
voted to rescind and withdraw ‘the letter dated June 30, 2016 that you received from members of
the Board, The Board:also authorized me to furnish you with written notice of such action.
Sincerely Yours,

Kandi Raach, Treasurer

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cc: Brent A. Stubbins, Esq.
Case: 2:16-cv-01135-ALM-EPD Doc #: 2 Filed: 11/30/16 Page: 15 of 19 PAGEID #: 39

  

EXHIBIT

 
 
 
  

CRLOA

Rolling Hille Local School D

PO. Bor BF
Se iets Sa ettndt Ba, Olin 45728 a Tore
Faz: 740-425-5318 Fax; 7@0-G39-E859
August 12, 2016
VIA CERTIFIED MALL

Dear Mr. Urdak:

We are writing to inform you that, for the indefinite future, you will not be permitted to
attend any athletic event on property owned by the Rolling Hills Local School District. Your
ongoing belligereni and inappropriate conduct--which includes verbal abuse and threats directed
at several coaches, the District’s Athletic Director, the Superintendent, and even some Board of
Education members--leaves us no realistic alternative but to bar your attendance.

While we are sensitive to the interest of a parent in atlending events in which a child is
participating, and also the interest of the child in having the parent attend, our paramount
concem must be for the safery and well-being of staff. While you have a tight to your opinions,
and to communicate those opinions in an appropriate way, you have no right angrily to attack a
public official or employee with profanity and belligerent threats. Despite numerous prior
warnings, you appear to be either unwilling or incapable of changing your behavior.
Accordingly, you are being banned fromm attending athletic events on District premises,

We would note in this connection that the District Athletic Communication Guide you
previously signed specifically stressed that you should not aggressivel y confront a coach with
whom you have issues before or after a contest or practice, since such conduct does not promote
the resolution of disputes but, rather, tends to escalate tensions. Your grossly inappropriate
comments and attacks have been directed not just toward coaches while doing their jobs, but the
Athletic Direcior and others as well, Ohiv law gives school officials the authority to insist that
parents and others conduct themselves appropriately while on school property. As Judge
Chinnock noted, in upholding a Pike County school district’s ban of a student's mother from
schoo] activities because of her verbal abuse of a coach, a parent who engages in such behavior
forfeits any right he might otherwise have had to attend.
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Kalliug Hills Local School Déstecet

P.O, Bax BF
Ryan Catduelt, focal Supentuteadent Reycsulll Rand. Fuller, Tncarenen
Phaue: 740-438-5270 + Ole G5 78S Phone; pie 7827
Paw: 740-425-9872

Faz: 740-d30-529 ¢

Much as we regret having to write this letter. your persistent inappropriate conduct and
refusal to heed past warnings give us little choice. Should You attempt 10 attend an athletic event
on District premises in the future, you will be treated as a trespasser, and law enforcement

. authorities.vill_be called, This.ban.will.remain in place.until.we can.credibly. he_assured that ...
your propensity toward profanc outbursts and attacks on others has been curbed and that vou ean.

and will, maintain basic courtesy and civility towards school authorities on a regular and
sustained basis.

Sincerely yours,

Ae

Superintendent”

 

cc: Brent A. Stubbins, Esq. (via email)
Case: 2:16-cv-01135-ALM-EPD Doc #: 2 Filed: 11/30/16 Page: 17 of 19 PAGEID #: 41

PLAINTIFF’S
EXHIBIT

 

a. 2018 Football Field Worksite Incident

In 2018, Brian Stoney was the President of the Rolling Hills Gridiron Club, a
booster club for the Meadowbrook High School and Middle School football
programs. Mr. Stoney called Plaintiff to ask him for a fuel donation towards the
School’s football transportation. Plaintiff agreed to donate $1,000.00 worth of
fuel,

When Plaintiff delivered the fuel to the School, he observed several Gridiron
Club members, members of a club that Brian Stoney was the President of, who
were working on the new football field, drinking alcohol.

Sometime later, Buddy Epperson and Tim Mauer, then Board Members, called
Plaintiff to ask whether he had seen anyone drinking alcohol at worksite for the
new field, and Plaintiff confirmed he had. They asked Plaintiff to testify to that
at a Board of Education Meeting, which Plaintiff did.

b. February 5, 2016, Basketball Game Incident

At an away basketball game against Claymont High School, Plaintiff asked
Coach Arnold if they could talk about Plaintiffs son being repeatedly benched,
which Coach Arnold agreed to do.

After the game and almost everyone had left, Plaintiff went to an area with his
wife, Coach Arnold, and Woody Biggs. Almost immediately after they started
talking, Sheriff Deputies entered the room and physically hauled Plaintiff out of
the building.

The next day, Coach Arnold called Plaintiff and stated he did not know why that
happened and that he had told the Deputies that he had agreed to talk to
Plaintiff, and advised Jeff Wheeler (Athletic Director) of the same.

c. 2016 Summer Basketball League Incident

 

At a summer basketball league game, Superintendent Caldwell and his 18-year-
old foster son sat behind Plaintiff in the bleachers. Caldwell’s foster son
proceeded to provoke Plaintiff by slapping on his back to get his attention, which
Caldwell encouraged. At one point, Caldwell told Plaintiff he was Plaintiffs
“boss” and for Plaintiff to “shut up and turn around.” Despite the provocation,
Plaintiff stayed calm.

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After the game, Plaintiff asked Caldwell if they could talk about the incident, to
which Caldwell replied, “I’d welcome that”. Caldwell advised Plaintiff that he
was keeping his foster son from “kicking his ass”. Plaintiff left the building, and
Plaintiffs wife and Caldwell were asked to.leave by Coach Weber. This was
witnessed by the opposing team’s Coach Weber, as well as Brent Cork, a
foreman at Detroit Diesel. Afterwards, Coach Weber told Plaintiff's wife she
could not believe that a Superintendent could act the way Caldwell did.

d. August 9, 2016, Football Game Incident

At an away football game against Martins Ferry High School, Meadowbrook
Coach Cox went across the field, physically attacked Martins Ferry High
School’s Principal, and had to be restrained. Coach Cox was required to complete
the online Positive Parenting course and miss one football game.

e. October 7, 2016, Football Game Incident

At a home football game against Coshocton High School, Brian Stoney caused
the team to incur a 15-yard unsportsmanlike conduct penalty because of his
conduct along sidelines. This is based on information and belief, as Plaintiff was
not present.

f. October 28, 2016, Football Game Incident
At a home football game against Cambridge High School, where Meadowbrook
lost, Brian Stoney refused to shake Cambridge Coach Winland’s hand. Winland

had previously coached for Meadowbrook. Assistant Coach Gander was a witness
to both events.

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Completion Certificate

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John Urdak

has successfully completed

Positive Sport Parenting

11/19/2016 Ohlo
Date of Completian State af Completion

( , Ad eden 2E5AA707874D

NFHS Executive Director Completion Code

 

 

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